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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 Snik LLC,

                    Plaintiff,                       Civil Action No. 2:19-cv-00387-JRG

        v.

 Samsung Electronics Co., Ltd.; and
 Samsung Electronics America, Inc.,

                    Defendants.



        JOINT MOTION FOR EXTENSION AND AMENDMENTS TO THE DCO

       Plaintiff Snik LLC (“Snik”) and Defendants Samsung Electronics Co., Ltd. and Samsung

Electronics America, Inc. (together, “Samsung”) jointly request a brief extension of all remaining

dates in the current Docket Control Order (Dkt. No. 52). Good cause exists as Snik seeks to add

a new product to the case. In particular, Snik seeks to add the Galaxy Buds Live, which Snik

contends was only available in the U.S. market in August 2020. Snik conferred with Samsung and

the Parties agreed that if the Court grants a 90 day extension to all dates to allow the Parties to,

e.g., conduct discovery and prepare for trial concerning this product (i.e., ameliorate any asserted

prejudice resulting from the inclusion of the Buds Live as an accused product in this action),

Samsung would not oppose a motion by Snik to amend its infringement contentions to add the

Buds Live to the case.


       Accordingly, the Parties jointly move for an extension of time as set forth below:


  Current Date            Proposed Date                              Event
    5/10/21                   8/9/21         *Jury Selection – 9:00 a.m. in Marshall, Texas


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 Current Date     Proposed Date                            Event
    4/5/21            7/6/21      * If a juror questionnaire is to be used, an editable (in
                                  Microsoft Word format) questionnaire shall be jointly
                                  submitted to the Deputy Clerk in Charge by this date.
   3/29/21            6/28/21     *Pretrial Conference – 9:00 a.m. in Marshall, Texas
                                  before Judge Rodney Gilstrap
   3/24/21            6/22/21     *Notify Court of Agreements Reached During Meet
                                  and Confer

                                  The parties are ordered to meet and confer on any
                                  outstanding objections or motions in limine. The
                                  parties shall advise the Court of any agreements
                                  reached no later than 1:00 p.m. three (3) business days
                                  before the pretrial conference.
   3/18/21            6/16/21     *File Joint Pretrial Order, Joint Proposed Jury
                                  Instructions, Joint Proposed Verdict Form, Responses
                                  to Motions in Limine, Updated Exhibit Lists, Updated
                                  Witness Lists, and Updated Deposition Designations
   3/15/21            6/14/21     *File Notice of Request for Daily Transcript or Real
                                  Time Reporting.

                                  If a daily transcript or real time reporting of court
                                  proceedings is requested for trial, the party or parties
                                  making said request shall file a notice with the Court
                                  and e-mail the Court Reporter, Shelly Holmes, at
                                  shelly_holmes@txed.uscourts.gov.
    3/8/21            6/7/21      File Motions in Limine

                                  The parties shall limit their motions in limine to issues
                                  that if improperly introduced at trial would be so
                                  prejudicial that the Court could not alleviate the
                                  prejudice by giving appropriate instructions to the
                                  jury.
    3/8/21            6/7/21      Serve Objections to Rebuttal Pretrial Disclosures
    3/1/21            6/1/21      Serve Objections to Pretrial Disclosures; and Serve
                                  Rebuttal Pretrial Disclosures
   2/16/21            5/17/21     Serve Pretrial Disclosures (Witness List, Deposition
                                  Designations, and Exhibit List) by the Party with the
                                  Burden of Proof
    2/8/21            5/10/21     *Response to Dispositive Motions (including Daubert
                                  Motions). Responses to dispositive motions that were
                                  filed prior to the dispositive motion deadline,
                                  including Daubert Motions, shall be due in accordance
                                  with Local Rule CV-7(e), not to exceed the deadline
                                  as set forth in this Docket Control Order. Motions for


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 Current Date        Proposed Date                              Event
                                         Summary Judgment shall comply with Local Rule
                                         CV-56.
   1/25/21               4/26/21         *File Motions to Strike Expert Testimony (including
                                         Daubert Motions)

                                         No motion to strike expert testimony (including a
                                         Daubert motion) may be filed after this date without
                                         leave of the Court.
   1/25/21               4/26/21         *File Dispositive Motions

                                         No dispositive motion may be filed after this date without
                                         leave of the Court.

                                         Motions shall comply with Local Rule CV-56 and Local
                                         Rule CV-7. Motions to extend page limits will only be
                                         granted in exceptional circumstances.        Exceptional
                                         circumstances require more than agreement among the
                                         parties.
    1/19/21              4/19/21         Deadline to Complete Expert Discovery
    1/6/21               4/6/21          Serve Disclosures for Rebuttal Expert Witnesses
   12/10/20              3/10/21         Deadline to Complete Fact Discovery and File Motions to
                                         Compel Discovery
   12/10/20              3/10/21         Serve Disclosures for Expert Witnesses by the Party with
                                         the Burden of Proof
   11/13/20              2/11/21         Comply with P.R. 3-7 (Opinion of Counsel Defenses)


     A proposed order is submitted herewith.




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Dated: November 6, 2020               KYLE HARRIS LLP


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                                      Ltd. and Samsung Electronics America, Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 6, 2020, I electronically filed the foregoing JOINT

MOTION FOR EXTENSION AND AMENDMENTS TO THE DCO with the Clerk of the Court

for the Eastern District of Texas using the ECF System which will send notification to the

registered participants of the ECF System as listed on the Court’s Notice of Electronic Filing.


                                                     /s/ John S. Kyle
                                                     John S. Kyle




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